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                          THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,                   Civil Action No. 2:15-cv-998-JRG-JRP

                  v.                                     CONSOLIDATED LEAD CASE

   NVIDIA CORPORATION, et al.,                              JURY TRIAL DEMANDED

                         Defendant.


                                  JOINT MOTION TO VACATE

          Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendants C&A IP Holdings, LLC

  Ricoh Americas Corporation (“Defendants”) (collectively, “the parties”) hereby respectfully

  request this Court to vacate the Order of Consolidation (Dkt. No. 59) as all other consolidated

  defendants in this case have now settled or have reached an agreement to settle in principle and

  only Defendants. No activity has occurred yet between the parties. Accordingly, Plaintiff and

  Defendant respectfully request the Court to vacate the consolidation order and set the parties for

  the upcoming February 22, 2016 initial scheduling conference in order to get a new Markman and

  trial date.




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        DATED February 12, 2016.    Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 12th day of February, 2016, I electronically filed the foregoing
  document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
  Division, using the electronic case filing system of the court. The electronic case filing system
  sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
  accept this Notice as service of this document by electronic means.

                                                /s/ Neal G. Massand___
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